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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION


IN RE: ORAL PHENYLEPHRINE                               MDL NO. 3089
MARKETING AND SALES PRACTICES
LITIGATION


     INTERESTED PARTY RESPONSE OF PLAINTIFFS COPPOCK AND BAUGHMAN

        Plaintiffs Kaycie Coppock 1 and Jennifer Baughman 2 (collectively “Plaintiffs”)

respectively submit this interested party response to the Barton plaintiffs’ Motion for Transfer of

Actions Pursuant to 28 U.S.C. §1407 for Coordinated or Consolidated Pretrial Proceedings

(“Motion”). See Doc. 1. For the reasons set forth in the Motion, Plaintiffs support coordination or

consolidation under 28 U.S.C. §1407, but respectively submit that the U.S. District Court for the

Eastern District of Louisiana (under the guidance of the Honorable Eldon E. Fallon) is a more

appropriate and convenient transferee district for this nationwide litigation.

I.      INTRODUCTION

        The U.S. Food and Drug Administration (“FDA”) held a Non-prescription Drug Advisory

Committee (“Committee”) meeting on September 11-12, 2023, to discuss the effectiveness of oral

phenylephrine as an active ingredient in over-the-counter (“OTC”) cough and cold products. Many

OTC medicines, including phenylephrine, are sold because they have an ingredient that the FDA

generally recognizes as safe and effective (“GRASE”) when used as recommended on the product

labeling, which is documented in an “OTC monograph.” Phenylephrine is found in many of the

most common OTC cold and flu medications, including Sudafed PE Sinus Congestion, Vicks



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  Plaintiff Coppock is the named plaintiff in the putative class action case of Coppock v. Procter
& Gamble et al., Case No. 2:23-cv-05353 (E.D. La.).
2
  Plaintiff Baughman is the named plaintiff in the putative class action case of Baughman v.
Johnson & Johnson Consumer Companies, Inc., Case No. 2:23-cv-07737 (C.D. Cal.).


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DayQuil and NyQuil Severe Cold and Flu, Benadryl Allergy D Plus Sinus, Mucinex Sinus-Max,

Robitussin Peak Cold Nighttime Nasal Relief, and Theraflu.

       The Committee discussed and reviewed previously submitted data and more recent data

related to the efficacy of phenylephrine as a nasal decongestant. The Committee concluded—in a

16-0 vote—that the current peer-reviewed scientific data do not support that the recommended

dosage of orally administered phenylephrine is effective as a nasal decongestant. 3 The Committee

did not raise any concerns about safety issues with phenylephrine at the recommended doses. The

FDA will consider the input of the advisory Committee, and the evidence, before taking any action

on the status of orally administered phenylephrine. However, the Committee’s unanimous

conclusion that phenylephrine is not effective as a nasal decongestant has sparked the filing of

multiple class action lawsuits.

       As of this filing, there are thirteen (13) putative class actions filed in nine (9) different

federal jurisdictions against various brand-name and generic manufacturers of products containing

phenylephrine, both as a single ingredient product and in combination with other ingredients.

Plaintiffs in all of these putative class actions allege that they purchased orally administered

phenylephrine-containing products to relieve symptoms of nasal decongestion, and that they

purportedly suffered economic injury because phenylephrine is ineffective as a nasal decongestant.

All of these putative class actions allege violations of various consumer protection statutes. They

also request the same type of economic damages (refunds) and various forms of injunctive relief.

Accordingly, Plaintiffs support the transfer of their actions and the other phenylephrine cases listed

in the Schedule of Actions (collectively “the Actions”), as well as any tag-along cases subsequently




3
 https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-
committee-meeting-oral-phenylephrine.


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filed involving similar facts or claims, to an appropriate transferee forum. However, Plaintiffs

submit that the appropriate forum and transferee judge for this nationwide litigation is the U.S.

District Court for the Eastern District of Louisiana before the Honorable Eldon E. Fallon. Judge

Fallon presides over Plaintiff Coppock’s Action.

         Consolidation is appropriate. The inefficacy of orally administered phenylephrine, both

as a single ingredient product and in combination with other ingredients, is the common

denominator in all the putative class action lawsuits filed. For that reason, discovery in all Actions

is likely to overlap. Discovery conducted in each of these Actions will be substantially similar and

will involve the same documents and witnesses vis-à-vis named defendants. Further, questions of

law and fact will undoubtedly overlap between the groups of Actions because they arise from a

common factual core—i.e. the ingredient phenylephrine—and they assert similar legal theories

and factual allegations. If necessary, the transferee judge could account, at his or her discretion,

for any differences among the Actions through the use of appropriate pretrial techniques—such as

establishing separate discovery and/or motion tracks related to brand-name products versus generic

products—to efficiently manage this litigation. In re: Ephedra Prods. Liab. Litig., 314 F. Supp. 2d

1373, 1375 (J.P.M.L. 2004). As noted by the Panel in In re: Oxycontin, “transfer under Section

1407 has the salutary effect of placing all actions in this docket before a single judge who can

formulate a pretrial program that ensures that pretrial proceedings will be conducted in a manner

leading to the just and expeditious resolution of all actions to the overall benefit of the parties.” In

re: Oxycontin Antitrust Litig., 314 F. Supp. 2d 1388, 1390 (J.P.M.L. 2004) (centralizing litigation,

even though several motions to transfer had already been granted).

        Absent formal coordination, there will inevitably be duplication in discovery and other

pretrial matters, potentially inconsistent pretrial rulings (including rulings on Daubert challenges




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and class certification motions), and duplication of work for the parties, counsel, and courts.

Formal coordination, whereby a Plaintiffs’ Steering Committee is appointed, will alleviate many

of these concerns. See In re: Cooper Tire & Rubber Co. Tires Prods. Liab. Litig., 2001 WL

253115, at *1 (J.P.M.L. Feb. 23, 2001) (centralization under Section 1407 granted where “[m]otion

practice and relevant discovery will overlap substantially in each action.”); In re: Cuisinart Food

Processor Antitrust Litig., 506 F. Supp. 651, 655 (J.P.M.L. 1981) (transfer would “effectuate a

significant overall savings of cost and a minimum of inconvenience to all concerned with the

pretrial activities”).

        While the Panel has not always been eager to centralize litigation on an industry-wide basis,

it has not hesitated to do so where it has determined that centralization is the best solution,

including where, as here, the litigation: involves several putative class actions filed across the

country; concerns products manufactured by common defendants; and alleges the same or similar

harm. See, e.g., In re: Walgreens Herbal Supplements Mktg. and Sales Pract. Litig., 109 F. Supp.

3d 1373 (J.P.M.L. 2015) (rejecting arguments for separate MDLs and finding that “a single MDL

encompassing all four retailers is necessary to ensure the just and efficient conduct of this

litigation.”); In re: Automotive Wire Harness Sys. Antitrust Litig., 867 F.Supp.2d 1349, 1350

(J.P.M.L.2012) (centralizing three proposed dockets concerning different types of automotive

products in a single MDL because each proposed docket shared significant factual issues and

“stem[med] from the same government investigation”); In re: Fluoroquinolone Prods. Liab.

Litig., 122 F.Supp.3d 1378 (J.P.M.L. 2015) (centralizing actions involving different defendants

and different drugs where the allegations involved the same alleged misconduct and same injury);

In re: Androgel Prods. Liab. Litig., 24 F. Supp. 3d 1378 (J.P.M.L. 2014) (centralizing all-

testosterone replacement therapy actions); In re: Incretin Mimetics Prods. Liab. Litig., 968 F.




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Supp. 2d 1345 (J.P.M.L. 2013) (centralizing actions against competing defendants which

manufactured four similar diabetes drugs that allegedly caused pancreatic cancer).

          The Panel has even rejected requests to create separate MDLs for different product lines

involving the same manufacturer where “all the actions contained the same core factual

allegation.” In re: Frito-Lay North America, Inc. All Natural Litigation, 908 F. Supp. 2d 1379-

1380 (J.P.M.L. 2012) (centralizing seven actions involving different product lines—Frito-Lay

Bean Dip, SunChips, and Tostitos—on basis that they all “share factual questions arising out of

allegations that Frito-Lay markets and labels certain food products grown from genetically

modified organisms as ‘All Natural,’ in a manner that is allegedly misleading to consumers”).

II.       LEGAL STANDARD

          Transfer and consolidation is proper if actions pending in different federal district courts

involve similar questions of fact to the extent that consolidating pretrial proceedings would “be for

the convenience of parties and witnesses and will promote the just and efficient conduct of such

actions.” 28 U.S.C. § 1407(a).

III.      ARGUMENT

       A. These Actions are Appropriate for Transfer and Coordination pursuant to 28 U.S.C.
          § 1407(a).

          1.     These Actions Involve Common Questions of Fact.

          Section 1407 requires that for centralization to be appropriate, the cases must share “one

or more common questions of fact.” In assessing whether consolidation is appropriate under

Section 1407, the Panel looks to the pleadings. As noted in the Motion, the complaints in these

Actions clearly present common questions of fact. Each complaint is based on allegations that

defendants’ orally administered phenylephrine-containing products do not work as advertised to

relieve nasal decongestion, in violation of various statutes and common law. In addition, the


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complaints allege similar legal theories and seek certification of similar classes and/or subclasses.

This Panel has consistently consolidated cases such as this because, even though they involve

different products, they inherently involve common questions of fact. See, e.g., In re: Johnson &

Johnson Sunscreen Mktg., Sales Pract. and Prods. Liab. Litig., 568 F. Supp. 3d at 1413-14; In re:

Abbott        Infant   Formula     Prods.   Liab.       Litig.,   2022   WL   3134144,      at   *1-2;

In re: Fluoroquinolone Prods. Liab. Litig., 122 F. Supp. 3d at 1379.

         2.        Transfer and Coordination Serves Not Only the “Convenience of the Parties and
                   Witnesses,” but also “Promote(s) the Just and Efficient Conduct of the Action.”

         As argued in the Motion, consolidation will avoid duplicative discovery and prevent

inconsistent pretrial rulings. First, centralization sidesteps tremendous inefficiencies in the process

of conducting discovery. This is an important consideration for the Panel in that transfer and

consolidation “ensure[s] that the actions are supervised by a single judge who, from day-to-day

contact with all aspects of the litigation, will be in the best position to design a pretrial program

that will prevent duplicative discovery . . . and substantially conserve the time and efforts of the

parties, the witnesses and the federal judiciary.” In re: Resource Exploration Inc. Sec. Litig., 483

F. Supp. 817, 821 (J.P.M.L. 1980). This includes reducing the cost of document review platforms

and depositions for third-party witnesses as much as party witnesses. Consolidation of the cases

will permit the parties to coordinate their efforts in a single proceeding, thereby promoting

efficiency and preserving the parties’ and the judiciaries’ resources.

         Second, consolidation decreases the likelihood of inconsistent rulings on pretrial issues

because of the possible res judicata or collateral estoppel effects on other cases. See In re: Enron

Sec. Derivative & ERISA Litig., 196 F. Supp. 2d 1375, 1376 (J.P.M.L. 2002) (granting a transfer

in part to prevent inconsistent pretrial rulings, particularly with respect to questions of class

certification).


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      B. This Panel Should Transfer the Related Actions to the Eastern District of Louisiana
         Before Judge Eldon E. Fallon.

         The selection of an appropriate transferee court is based on a balancing test of several

factors, none of which is dispositive. See Manual of Complex Litigation (Fourth) § 20.131 (2004)

(citing Robert A. Cahn, A Look at the Judicial Panel on Multidistrict Litigation, 72 F.R.D. 211,

214-15 (1977). The factors include:

            •   Where the largest number of cases is pending;

            •   Where discovery has occurred;

            •   Where cases have progressed furthest;

            •   The site of the occurrence of the common facts;

            •   Where the cost and inconvenience will be minimized; and

            •   The experience, skill and caseload of available judges.

Id.

         Although the FDA advisory Committee’s report was only recently issued, thirteen (13)

putative class actions have already been filed in nine (9) different federal jurisdictions, including

in the: Eastern District of Louisiana; Central and Eastern Districts of California; Northern and

Middle Districts of Florida; District of Minnesota; District of New Jersey; and Eastern District of

New York. Given the geographic dispersal of the Actions, no district stands out at this point as

the geographic focal point. No discovery has commenced in any of the filed actions.

         Moreover, there does not appear to be a common site of the occurrence of the common

facts since most of the primary brand-name defendant manufacturers are headquartered in

different states. Defendants Johnson & Johnson Consumer Inc., Kenvue, Inc. McNeil Consumer

Healthcare, and Sanofi-Aventis U.S. LLC are headquartered in New Jersey; Defendant Procter &

Gamble is headquartered in Ohio; Defendants GlaxoSmithKline LLC, Bayer Healthcare LLC,


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and Church & Dwight Co., Inc. are headquartered in Pennsylvania. Most of the generic

phenylephrine manufacturing defendants are likewise headquartered in different states: Walgreen

Co. (Illinois); Target Corporation (Minnesota); Albertsons Companies Inc. (Idaho); Rite Aid

Corporation (Pennsylvania); Amazon (Washington); Associated Wholesale Grocers, Inc. and

Valu Merchandisers Co. (Kansas); Rickitt Benckiser LLC (New Jersey).

        Thus, respectively, the primary factors this Panel should consider in determining whether

consolidation and transfer is appropriate are the present rate of filings (which are expected to

increase exponentially), the experience, skill and caseload of available judges, and geographic

location. To be sure, the impact of any subsequent FDA recall of oral phenylephrine products

from the market will be far-reaching and undoubtedly generate additional lawsuits. As

recognized in the FDA advisory Committee’s report, “Should the Agency take an action

regarding the GRASE status of oral phenylephrine, we also understand that a significant impact

on industry would be inevitable.” 4 Thus, while each of the Actions are assigned to capable

jurists, the magnitude and complexity of this litigation supports that it be centralized before a

jurist with experience in complex multidistrict products liability litigation.

        That jurist is the Honorable Eldon E. Fallon, who presides over the Coppock matter and

sits in a district with the capacity to handle this litigation. 5 Judge Fallon is a well-respected jurist

who has successfully presided over some of the largest and most complex MDLs in this

country’s history. See, e.g., In re: Vioxx Prods. Liab. Litig., 360 F.Supp.2d 1352 (J.P.M.L. 2005)

(MDL 1657). Judge Fallon currently presides over two (2) MDLs that are winding down




4
  https://www.fda.gov/media/171915/download.
5
  The Eastern District of Louisiana is currently home to only five (5) pending MDLs. See In re:
NuvaRing Prods. Liab. Litig., 572 F. Supp. 2d 1382 (J.P.M.L. 2008) (transfer to district with
relatively low number of pending MDL dockets).


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following settlements in 2019. See In re: Chinese-Manufactured Drywall Prods. Liab. Litig., 626

F.Supp.2d 1346 (J.P.M.L. 2009) (MDL 2047); In re: Xarelto (Rivaroxaban) Prods. Liab. Litig.,

65 F.Supp.2d 1402 (J.P.M.L. 2014) (MDL 2592). Thus, the Eastern District of Louisiana, and

Judge Fallon in particular, have the capacity to efficiently manage the litigation. See, e.g., In re

Erie COVID-19 Business Interruption Protection Insurance Litig., 509 F. Supp. 3d 1370

(J.P.M.L. 2020) (transferring to a district with the “capacity to efficiently manage … cases”); In

re Paxil Prods. Liab. Litig., 296 F. Supp. 2d 1374, 1375 (J.P.M.L. 2003) (transferring to a “judge

with the time and experience to steer this complex litigation on a prudent course”).

       The Panel has also considered the support of parties in determining the best transferee

court. See, e.g., In re: Xarelto, 65 F.Supp.2d at 1405 (noting that the transferee district has the

support of a number of plaintiffs); In re SFBC Int’l, Inc., Sec. & Derivative Litig., 435 F. Supp.

2d 1355, 1356 (J.P.M.L. 2006) (relying on the fact that the transferee district was “the preferred

transferee forum of several responding parties” in deciding to transfer the MDL to that district);

In re Anthem, Inc., Customer Data Sec. Breach Litig., 109 F. Supp. 3d 1364, 1365 (J.P.M.L.

2015) (noting that “[n]umerous plaintiffs support centralization in this district, both in the first

instance and in the alternative.”). Here, counsel in the Baughman 6 case, pending in the Central

District of California, has joined in supporting the transfer of these Actions to the Eastern

District of Louisiana before Judge Fallon.

       Finally, the Eastern District of Louisiana has more Actions pending than any other district

and has long had the infrastructure to easily accommodate out-of-town lawyers, parties, and

witnesses should the need arise to appear in person. Indeed, the Eastern District of Louisiana is




6
 Baughman v. Johnson & Johnson Consumer Companies, Inc., Case No. 2:23-cv-07737 (C.D.
Cal.).


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arguably one of the most convenient and readily accessible locations for any litigation. It is

centrally located and has reasonable accommodations for those traveling to the court.

Respectively, the Eastern District of Louisiana is a more appropriate and convenient transferee

forum than the District of New Jersey favored by the Barton plaintiffs, for several reasons.

         First, as noted, there are three (3) Actions pending in the Eastern District of Louisiana,

more than any other district.

         Second, the District of New Jersey docket is more congested. As of June 30, 2023, the

District of New Jersey had an average of 3,732 pending civil cases per judgeship. 7 The Eastern

District of Louisiana had an average of 482 pending civil cases per judgeship.

         Third, the District of New Jersey has twelve (12) active multi-district litigations, including

two (2) that were transferred there by the Panel in just the past nine months. See In re: Insulin

Pricing Litig., MDL No. 3080, -- F. Supp. 3d --, 2023 WL 5065090 (J.P.M.L. Aug. 3, 2023) and

In re: Samsung Customer Data Security Breach Litig., MDL No. 3055, -- F. Supp. 3d --, 2023 WL

1811247 (J.P.M.L. Feb. 1, 2023). Comparatively, there are a total of five (5) active multi-district

litigations in the Eastern District of Louisiana.

         Fourth, the Eastern District of Louisiana is a more convenient forum for the parties and

their counsel, who are located in different regions of the country. In support of the District of New

Jersey, the Barton plaintiffs contend that, because New Jersey is headquarters to some of the named

defendants, relevant documents and witnesses will likely be found there. See Doc. 1-1, at 11. But,

as noted above, even more named defendants (brand and generic manufacturers) are located in

districts other than New Jersey, so relevant documents and witnesses will be scattered in various

locations. And, as a practical matter, the physical location of documents is no longer a significant



7
    https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0630.2023.pdf.


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factor in weighing transferee districts because in an era of electronic documents, this factor

assumes much less importance than it did formerly.

        Fifth, the Barton plaintiffs contend that the District of New Jersey is “geographically

convenient” for this litigation, noting that the region is serviced by major airports and major

airlines. Id. at 12. The same is true of the Eastern District of Louisiana, located in New Orleans.

General questions of travel accessibility are not a factor here. Because the Eastern District of

Louisiana is truly a “geographically central forum,” it is more geographically convenient for

parties and counsel in disparate regions. See In re: Xarelto, 65 F.Supp.2d at 1405 (noting that the

Eastern District of Louisiana “provides a geographically central forum for this nationwide

litigation”).

    C. In the Alternative, the Phenylephrine Actions Should be Consolidated Before Judge
       Jane T. Milazzo in the Eastern District of Louisiana

        As an alternative, the Panel should consolidate the Actions before the Honorable Jane T.

Milazzo in the Eastern District of Louisiana. Judge Milazzo has over a decade of experience as a

practicing attorney and over fifteen (15) years of judicial experience, both on State and Federal

Courts. She was the first woman elected to the bench from the 23rd Judicial District of Louisiana,

holding that position until her elevation to the federal bench in 2011. Judge Milazzo currently

presides over the Fichera 8 Action and, like Judge Fallon, is an eminently capable jurist with

relevant experience in multidistrict litigation, 9 including class action litigation, and sits in a district

with the capacity to handle this litigation (the Eastern District of Louisiana).




8
 Fichera v. The Procter & Gamble Company, Case No. 2:23-cv-05274 (E.D. La.).
9
 Judge Milazzo currently presides over the In re: Taxotere (Docetaxel) Eye Injury Prods. Liab.
Litig., MDL No. 3023, 584 F. Supp. 3d 1378 (J.P.M.L. 2022) and In re: Taxotere (Docetaxel)
Prods. Liab. Litig., MDL 2740, 220 F. Supp. 3d 1360 (J.P.M.L. 2016).


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IV.    CONCLUSION

       Wherefore, for all the foregoing reasons, Plaintiffs respectfully request an Order

consolidating these Actions in the Eastern District of Louisiana before Judge Eldon E. Fallon or,

in the alternative, Judge Jane T. Milazzo.



Dated: September 27, 2023



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